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14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S NOTICE REGARDING
18                                             POTENTIAL REDACTIONS IN TRIAL
                      v.                       EXHIBITS; EXHIBIT 1
19
     MICHAEL JOHN AVENATTI,
20
                Defendant.
21

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23         Plaintiff United States of America, by and through its counsel

24   of record, the Acting United States Attorney for the Central District

25   of California and Assistant United States Attorneys Brett A. Sagel

26   and Alexander C.K. Wyman, hereby files its Notice Regarding Potential

27   Redactions in Trial Exhibits.

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1          This Notice is based upon the attached memorandum of points and

2    authorities, the attached exhibit, the files and records in this

3    case, and such further evidence and argument as the Court may permit.

4     Dated: July 29, 2021                 Respectfully submitted,

5                                          TRACY L. WILKISON
                                           Acting United States Attorney
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                                           SCOTT M. GARRINGER
7                                          Assistant United States Attorney
                                           Chief, Criminal Division
8

9                                                /s/
                                           BRETT A. SAGEL
10                                         ALEXANDER C.K. WYMAN
                                           Assistant United States Attorneys
11
                                           Attorneys for Plaintiff
12                                         UNITED STATES OF AMERICA

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2          The government has offered, and the Court has admitted, various

3    bank records of defendant and his law firms pursuant to Federal Rule

4    of Evidence 902(11).      Several times in the process of publishing

5    these exhibits, defendant has objected to the exhibits being

6    displayed on the basis that redactions are required prior to the

7    exhibits being published.       For example, on July 27, 2021, defendant

8    claimed that redactions were required to Trial Exhibit 391, which is

9    a compilation of statements from an Eagan Avenatti LLP attorney-
10   client trust account with California Bank & Trust.           (RT 7/27/2021 at
11   113-14.)    After the government responded by noting that “[i]t might
12   behoove [defendant] to bring these [objections] up not while we’re in
13   trial and things can move quicker that way if he believes things need
14   to be redacted in the exhibits,” defendant stated, “I will take a
15   look at it.     I will propose redactions and we’ll go from there.           I
16   think it’s only reasonable, Your Honor.”          (Id. at 114.)
17         After trial concluded for that day, at approximately 6:16 PM on

18   July 27, 2021, government counsel emailed defendant’s advisory

19   counsel, H. Dean Steward, to confirm that the government intended to

20   offer for admission each of the business records previously

21   identified to the defense by exhibit number, and asking him or his

22   client to identify any redactions that would be necessary (as well as

23   the grounds for redactions) so that the parties could avoid wasting

24   time by addressing these issues before the jury.           (See Exhibit 1.)

25   As of the time of this filing, neither Mr. Steward nor defendant has

26   provided any response to this email, nor has the defense proposed any

27   redactions to Trial Exhibit 391 despite defendant’s promise to do so.

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1          The Court should reject any further attempts by defendant to

2    wait to request redactions until the government has offered the

3    exhibit for admission with a witness on the stand before the jury.

4    Prior to sending the defense its trial exhibits on July 6, 2021, the

5    government already redacted personal identifying information as well

6    as references to cars and rental payments pursuant to the Court’s

7    ruling on defendant’s motion in limine.          He now knows, without any

8    doubt, which bank records the government intends to offer for

9    admission.    If he has redactions to propose, he should do so now.
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                       EXHIBIT 1
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Wyman, Alex (USACAC)

From:              Wyman, Alex (USACAC)
Sent:              Tuesday, July 27, 2021 6:16 PM
To:                Dean Steward
Cc:                Sagel, Brett (USACAC)
Subject:           RE: Business Record Exhibits



Dean,

As we informed you below, we intend to offer for admission each of the bank records and other business
records referenced below. If your client believes that any of these records should be redacted, please identify
the pages and lines he believes should be redacted and the reasons for the redactions.

Thanks,
Alex

From: Wyman, Alex (USACAC)
Sent: Friday, July 23, 2021 1:07 PM
To: Dean Steward <deansteward7777@gmail.com>
Cc: Sagel, Brett (USACAC) <BSagel@usa.doj.gov>
Subject: Business Record Exhibits

Dean,

Below are the specific custodian of record declarations that apply to the business records we intend to move
into evidence. We informed you of which declarations apply to which records on May 20, 2021 in the
attached correspondence, and we are providing this information here as a courtesy and to facilitate the
resolution of the defendant’s dispute as to the business records we are seeking to admit.

 Business Record      Applicable Custodian              Page of Custodian
    Exhibit No.      Declaration Exhibit No.        Declaration Exhibit Nos.
 25                  393                            1-2
 41                  394                            2
 147                 394                            2
 148                 394                            2
 158                 394                            2
 349                 396                            1-2
 356                 394                            2
 357                 394                            2
 358                 394                            2
 359                 394                            2
 360                 394                            2
 361                 397                            3-4
 362                 397                            3-4
 363                 397                            3-4
 364                 397                            3-4
                                                         1
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 365                 397                        3-4
 366                 397                        3-4
 367                 397                        3-4
 368                 397                        3-4
 369                 397                        3-4
 370                 397                        3-4
 371                 397                        3-4
 372                 397                        3-4
 373                 397                        1-2
 374                 397                        1-2
 375                 394                        2
 376                 394                        2
 377                 394                        2
 378                 394                        2
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 388                 394                        2
 390                 394                        2
 391                 394                        2

Please let me know if you have any questions.

Thanks,
Alex

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